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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


                                                                                                            o
UNITED STATES OF AMERICA
                                                     CRIMINAL NO. l(o                                       n-)
                                                                                                            : J 3;

                                                                                                            • •      rn
                                                                                                                •.   o
                                                     Violations:
(1) GIRMA TILAHUN, and                              8 U.S.C. § 1325(c) and
(2) WUDNESH WOLDE                                   18U.S.C. §2
                                                    (Aiding/Abetting Marriage Fraud
                      Defendants.                   to Evade Immigration Law)

                                            INFORMATION


       The United States Attorney charges that:

                                               Introduction


       At all times relevant to this Information:


       1.      Defendants GIRMA TILAHUN and WUDNESH WOLDE were married to each other.

       2.      During 2011, Defendants TILAHUN and WOLDE arranged for a United States citizen,

hereinafter referred to as "Participant 1" or "PI," to go through a sham "marriage" in Ethiopia to an

Ethiopian national, hereinafter referred to as "Participant 2" or "P2," for the purpose of enabling the

Ethiopian national to be admitted to the United States and to receive permanent resident status in the

United States based on false and fraudulent representations.

       3.      Defendants TILAHUN and WOLDE both knew and intended that the United States

citizen, PI, would and did commit this offense for profit, and the Defendants were directly involved

with payments from P2 and with payments to PI for entering into this sham marriage and submitting

related false documents to the United States government.

       4.      During April 2012, approximately one year after the sham marriage between PI and P2

had taken place in Ethiopia, P2 was admitted to the United States but, instead of living with his alleged

"wife" PI, P2 lived with defendants TILAHUN and WOLDE.
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       5.      P2 never lived with PI in Ethiopia or in the United States.

       6.      Additional documents falsely attesting to the bona fides of the "marriage" of PI and P2

were submitted to the United States government during 2014.

                                               COUNT ONE
               (Aiding and Abetting Marriage Fraud - 8 U.S.C. §1325(c) and 18 U.S.C. §2)

        7.      The United States Attomey re-alleges and incorporates by reference paragraphs 1-6 of

this Information as if set forth herein.

        8.      The United States Attomey further charges that in or about April 2011, in the District of

Massachusetts, and elsewhere,

                              GIRMA TILAHUN and WUDNESH WOLDE,

the defendants herein, did aid and abet individuals (PI and P2) in knowingly and unlawfully entering

into a marriage for the purpose of evading a provision of the immigration laws, to wit, 8 U.S.C.

§§ 1154(c), 1186a(b)(l)(A)(i), and 1186a(d)(l)(A)(i)(m).

                    All in violation of Title 8, United States Code, Section 1325(c) and

                                   Title 18, United States Code, Section 2.


                                                       Respectfully submitted,

                                                       CARMEN M. ORTIZ
                                                       United States Attorney f\   .
                                               By:
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